                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


 DAKOTA BURCHARD,                                 )
                                                  )
         Plaintiff,                               )    NO. 3:23-cv-00455
                                                  )
 v.                                               )    JUDGE CAMPBELL
                                                  )    MAGISTRATE JUDGE NEWBERN
 CORECIVIC OF TENNESSEE, LLC, et                  )
 al.,                                             )
                                                  )
         Defendants.                              )

                                              ORDER

       Pending before the Court is the parties’ joint motion to modify the Initial Case

Management Order. (Doc. No. 33). For good cause shown, the motion is GRANTED and the

deadlines in the Initial Case Management Order (Doc. No. 14) are amended as follows:

                      Deadline                                       Date

      Fact discovery                                            August 1, 2024

      Case resolution / joint status report                     August 15, 2024

      Expert disclosure - Plaintiff                             August 1, 2024

      Expert disclosure - Defendants                            October 1, 2024

       All other deadlines set forth in the Initial Case Management Order remain unchanged.

       It is so ORDERED.


                                                ______________________________________
                                                WILLIAM L. CAMPBELL, JR.
                                                CHIEF UNITED STATES DISTRICT JUDGE




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